     Case 4:25-cv-00824-JST         Document 17-1       Filed 03/28/25   Page 1 of 3



 1   MATTHEW A. MACDONALD, SBN 255269
     TREVOR N. TEMPLETON, SBN 308896
 2   CHRISTOPHER M. HURLEY, SBN 350153
     MADELYN Y. CHEN, SBN 346126
 3   WILSON SONSINI GOODRICH & ROSATI
     Professional Corporation
 4   953 East 3rd Street, Suite 100
     Los Angeles, CA 90013-1952
 5   Telephone: (323) 210-2900
     Facsimile: (866) 974-7329
 6   Email:       matthew.macdonald@wsgr.com
                  ttempleton@wsgr.com
 7                churley@wsgr.com
                  madelyn.chen@wsgr.com
 8
     CAITLIN MCKELVIE, pro hac vice
 9   WILSON SONSINI GOODRICH & ROSATI
     Professional Corporation
10   95 S. State Street, Suite 1000
     Salt Lake City, UT 84111
11   Telephone: (801) 401-8510
     Facsimile: (866) 974-7329
12   Email:       cmckelvie@wsgr.com

13
     Attorneys for Defendant
14   LIVERAMP HOLDINGS, INC.

15                               UNITED STATES DISTRICT COURT

16                              NORTHERN DISTRICT OF CALIFORNIA

17                                  SAN FRANCISCO DIVISION

18   CHRISTINE RIGANIAN and DONNA                   )    Case No.: 4:25-cv-824-JST
     SPURGEON, on behalf of themselves and all      )
19   others similarly situated,                     )    DECLARATION OF TREVOR N.
                                                    )    TEMPLETON IN SUPPORT OF
20                 Plaintiff,                       )    MOTION TO DISMISS CLASS
                                                    )    ACTION COMPLAINT
21          v.                                      )
                                                    )
22   LIVERAMP HOLDINGS, INC., a corporation         )    Before: Hon. Judge Jon S. Tigar
     organized under the laws of the State of       )
23   Delaware,                                      )

24                 Defendant.

25

26

27

28

     DECL. T. TEMPLETON I/S/O MOT. DISMISS                                   CASE NO. 4:25-CV-824-JST
     Case 4:25-cv-00824-JST            Document 17-1         Filed 03/28/25     Page 2 of 3



 1             I, Trevor N. Templeton, declare as follows:

 2             1.     I am an attorney duly licensed to practice law in the State of California and before

 3   this Court. I am a partner at the law firm of Wilson Sonsini Goodrich & Rosati, Professional

 4   Corporation, counsel for Defendant LiveRamp Holdings, Inc. (“LiveRamp”) in this action. I

 5   submit this Declaration in support of LiveRamp’s Motion to Dismiss the Class Action Complaint

 6   filed in this matter. I have personal knowledge of the matters set forth in this declaration and, if

 7   called upon to do so, could and would testify competently as to the matters set forth herein.

 8             2.     Attached hereto as Exhibit A is a true and correct copy of California Assembly

 9   Bill 929, Committee Report, from the 2015-2016 Regular Legislative Session, dated June 15,

10   2015.

11             3.     Attached hereto as Exhibit B is a true and correct copy of Proposition 24, The

12   California Privacy Rights Act of 2020 (codified at Cal. Civ. Code Ann. § 1798.100 (West

13   2025)).

14             4.     Attached hereto as Exhibit C is a true and correct copy of California Assembly

15   Bill 929, as adopted by the 2015-2016 Legislative Session on August 13, 2015.

16             5.     Attached hereto as Exhibit D is a true and correct copy of California Assembly

17   Bill 929, Committee Report, from the 2015-2016 Regular Legislative Session, dated April 6,

18   2015.

19             I declare under penalty of perjury under the laws of the United States of America that the

20   foregoing is true and correct.

21             Executed this 28th day of March, 2025, at Los Angeles, California.

22

23                                                      By: /s/ Trevor Templeton
                                                           Trevor Templeton
24

25

26

27

28

     DECL. T. TEMPLETON I/S/O MOT. DISMISS               1                          CASE NO. 4:25-CV-824-JST
     Case 4:25-cv-00824-JST           Document 17-1          Filed 03/28/25    Page 3 of 3



 1                                   SIGNATURE ATTESTATION

 2          I, Matthew A. Macdonald, am the ECF User whose ID and password are being used to

 3   file this document. In compliance with N.D. Cal. Civil L.R. 5-1(i)(3), I hereby attest that the

 4   concurrence in the filing of this document has been obtained from the signatory.

 5

 6                                                     By: /s/ Matthew A. Macdonald
                                                          Matthew A. Macdonald
 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26

27

28

     DECL. T. TEMPLETON I/S/O MOT. DISMISS             -2-                            CASE NO. 3:25-CV-824
